                      UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    MICHAEL GURGONE,

                       Plaintiff/Counter-Defendant,

                          v.                                       Case No. 16 CV 10549

    GLOBAL SIGNAL ACQUISITIONS IV LLC,                             Judge Sara L. Ellis

                       Defendant/Counter-Plaintiff.

               JOINT STATEMENT OF UNDISPUTED MATERIAL FACTS

        Now    comes     the   Parties,   Plaintiff/Counter-Defendant,     MICHAEL        GURGONE

(“Gurgone”), and Defendant/Counter-Plaintiff GLOBAL SIGNAL ACQUISITIONS IV LLC

(“GSA IV”), by and through their counsel, and hereby submit their Joint Statement of Undisputed

Material Facts and state as follows:

        1.      Gurgone is an individual domiciled in New Lenox, Will County, Illinois, and
therefore is a citizen of Illinois. See Dkt. 45, ¶ 3; and Dkt. 46, ¶ 3.

       2.     GSA IV is a limited liability company organized and existing under the laws of the
State of Delaware with its principal place of business in Houston, Texas. Castillo
Declaration, ¶ 4.

        3.      GSA IV’s sole member is Global Signal Operating Partnership L.P., a Delaware
limited partnership with its headquarters in Houston, Texas. Global Signal Operating Partnership
L.P.’s partners are CCGS Holdings Corp., and Global Signal GP LLC. CCGS Holdings Corp is a
Delaware corporation with its headquarters in Houston, Texas. Global Signal GP LLC is a
Delaware limited liability company, with its sole member being CCGS Holdings Corp., a
Delaware corporation with its headquarters in Houston, Texas. Id., ¶¶ 5–6.

      4.       The amount in controversy in this case exceeds $75,000.00. The perpetual
easement at issue in this matter was purchased by GSA IV for $132,850.00. Gurgone Dep. 51:5-
16. Gurgone seeks damages in the amount of at least $100,000.00. Dkt. 17, ¶¶ 13 B, 21 B.

      5.     On or about May 14, 1998, Gurgone1 and SprintCom, Inc. (“Sprint”) entered into a
PCS Site Agreement which provided, in part, that Gurgone leased to Sprint a certain Site, located



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 The agreements at issue were also executed by Michael Gurgone’s wife Sherri Gurgone, who is deceased
and thus is not made a party to this action. Gurgone solely owns the property now. Gurgone Dep. 7:8-20.
at 1121 Bjork Drive, County of Will, Illinois, for the purpose of erecting, operating and
maintaining a communications tower (the “Tower”). See Dkt. 45, ¶ 7; and Dkt. 46, ¶ 7.

       6.       A true and correct copy of the PCS Site Agreement (with the rental amount
redacted) is attached as Exhibit 1.

         7.    The PCS Site Agreement grants Sprint “a non-exclusive easement for reasonable
access thereto and to the appropriate, in the discretion of [Sprint], source of electric and telephone
facilities.” Exhibit 1, ¶ 1.

       8.      The PCS Site Agreement states “SprintCom will have access to the Site 24 hours
per day, 7 days per week.” Id.

       9.      The PCS Site Agreement was for an initial term of five (5) years with four (4)
additional renewal terms of five (5) years each. Exhibit 1, ¶ 2.

        10.    Sprint and Gurgone executed a Memorandum of the PCS Site Agreement,
evidencing the existence of the PCS Site Agreement. A true and correct copy of the Memorandum
of the PCS Site Agreement is attached as Exhibit 2.

        11.   Both the PCS Site Agreement and the Memorandum of the PCS Agreement contain
the same hand drawn sketches of the Site and a true and correct legal description of the parent
parcel. Exhibit 1 and Exhibit 2; Gurgone Dep. 69:15-21.

       12.     At or around the time the PCS Site Agreement and Memorandum of the PCS Site
Agreement were executed, Sprint presented, and Gurgone reviewed and approved, oversized
construction drawings prepared by Fullerton Contracting Company, which reflect an “Issued for
Comment” date of May 25, 1998 and an “Issued for Permit” date of May 28, 1998. Reduced sized
copies of same are attached hereto as Exhibit 3 (Gurgone Dep. Ex. 1); Gurgone Dep. 42:7-23.

       13.   On or about June 2, 2006, Gurgone and GSA IV entered into an Assignment and
Assumption of Lease Agreement whereby Gurgone agreed to “convey, transfer, and assign” to
GSA IV the PCS Site Agreement referenced above. A true and correct copy of the Assignment
and Assumption of Lease Agreement is attached as Exhibit 4.

       14.    On or about June 2, 2006, Gurgone executed an Easement in favor of GSA IV
regarding the Site and access thereto. A true and correct copy of the Easement is attached as
Exhibit 5.

       15.    The same legal description of the Access and Utility Easement appears as Exhibit
B to the Assignment and Assumption of Lease Agreement (Exhibit 4) and as Exhibit C to the
Easement (Exhibit 5.) Hereinafter this same legal description will be referred to as the “Erroneous
Legal Description.”

       16.      Neither the PCS Site Agreement, the Memorandum of the PCS Site Agreement, nor
the Erroneous Legal Description contain a legal description for a utility easement (Dkt. 45, ¶ 19;
Dkt. 46, ¶ 19), but Gurgone always expected that the utilities would be placed within the utilities


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easement legal description and boundaries depicted on page 2 of Exhibit 3. Gurgone Dep. 70:10-
20; Exhibits 1, 2, 4 and 5.

        17.     There is a call missing from the Erroneous Legal Description in the access easement
portion of the Access and Utility easement in the Assignment and Assumption of Lease Agreement
(Exhibit 4) and as Exhibit C to the Easement (Exhibit 5). See Dkt. 45, ¶ 18; and Dkt. 46, ¶ 18.

       18.   A survey prepared just before the signing of the Assignment and Assumption of
Lease Agreement and the Easement, when compared to the access easement portion of the
Erroneous Legal Description shows that “THENCE NORTH 43 DEGREES 02 MINUTES 36
SECONDS EAST” is missing from the access easement portion from the legal description in the
Erroneous Legal Description. Exhibit 6 (CC-GRGN 1395).

      19.     A survey commissioned by Gurgone confirmed that there is an error in the access
easement portion of the Easement legal description. Gurgone Dep. 94-95:13-1.

        20.    Gurgone knew and expected that GSA IV expected access to the Tower in exchange
for the consideration paid under the Easement agreement. Gurgone Dep. 95:10-12.

       21.    Gurgone expected that the same rights and access and utility easements in place
under the PCS Site Agreement would remain after the Easement purchase transaction. Gurgone
Dep. 52:5-10, 56:6-21; 95:2-12.

      22.      Gurgone acknowledges that GSA IV has at a right to an access right to access the
Tower as per the drawings in Exhibit 3. Gurgone Dep. 99:11-16.

     23.    Gurgone knew Sprint would need to use part of his driveway to get to the Tower.
Gurgone Dep. 19:9-11.

      24.   Gurgone placed a chain and padlock around the Tower compound around August
2014. Gurgone Dep. 87-88:20-10; Exhibit 7 (CC-GRGN 0066).

     25.    The lock on the Tower compound continued at least through May 2015. Exhibit 8
(CC-GRGN 0111). The lock was eventually cut off by someone associated with GSA IV.
Gurgone Dep. 89:6-9; 90:15-24.

        26.   Gurgone placed the lock on the fence surrounding the Tower to get GSA IV’s
attention. Gurgone Dep. 90:4-8.

        27.     Around July 2015, Gurgone erected a gate at the base of his driveway which leads
to his property and is adjacent to the public street. The gate has a lock on it. Gurgone has refused
to supply a key to GSA IV. Dkt. 45, Ex. 5; Dkt. 45, ¶31; Dkt. 46, ¶31; Gurgone Dep. 91:11-24.

     28.   On the gate Gurgone has placed a sign upon which says “PRIVATE PROPERTY
NO TRESSPASSING ALL CELL TOWER CONTRACTORS STAY OUT! NO ‘LEGAL’
ACCESS.” Dkt. 45-1, Ex. 5; Gurgone Dep. 92:1-8.



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        29.    GSA IV has offered to install a “daisy chain” locking system on Gurgone’s gate in
order to allow GSA IV and its contractors access to the driveway, Gurgone has not accepted that
offer. Exhibit 9 (CC-GRGN 1038-1053 at 1051).

        30.    The lock remains on the gate at least as of April 2018. Gurgone Dep. 101-102:20-
4.

       31.     The Easement and the Assignment and Assumption of Lease Agreement were
executed at the same time as part of a transaction pursuant to an Easement Purchase Agreement
wherein GSA IV was to pay and did pay Gurgone $132,850.00 (the “Easement Purchase”). See
Dkt. 45, ¶ 20; Dkt. 46, ¶ 20; Gurgone Dep. 51:2-8.

        32.    The Easement contains a Paragraph 3 entitled “Use” which reiterates the 24 hours
a day, seven days per week access and the broad rights GSA IV has to maintain and improve the
Tower:

               The Tower Area shall be used for the purpose of erecting, installing, operating and
               maintaining radio and communications towers, equipment buildings, and
               equipment shelters, including leasing, subleasing, and licensing space thereon to
               third parties. Grantee may make any improvement, alteration or modifications to
               the Tower Area as are deemed appropriate by Grantee, in its discretion for the
               purposes set forth herein. At all times during the Term of the Easement, Grantee
               and its customers, tenants, lessees, sublessees, and licensees shall have the right to
               use, and shall have free access to, the Tower Area and Access and (Guy and/or
               Utility) Areas seven (7) days a week, twenty-four (24) hours a day. Grantee shall
               have the exclusive right to lease, sublease, license, or sublicense any
               radio/communications tower or any other structure or equipment on the Tower
               Area, and shall also have the exclusive right to lease or sublease to third parties any
               portion of the Tower Area, itself, but no such lease, sublease or license shall relieve
               or release Grantee from its obligations under this Easement. Grantee and its
               customers shall have the right to erect, install, maintain, and operate on the Tower
               Area such equipment, structures, fixtures, signs, and personal property as described
               in Paragraph 2, and such property, including the equipment, structures, fixtures,
               signs, and personal property currently on the Tower Area, shall not be deemed to
               be part of the Tower Area, but shall remain the property of Grantee or its customers,
               as applicable. At any time, Grantee or its customers shall have the right to remove
               their equipment, structures, fixtures, signs, and personal property from the Tower
               Area.

Exhibit 5, ¶ 3; Dkt. 45, ¶ 21; Dkt. 46, ¶ 21.

        33.     Paragraph 18 of the Easement contains a provision called “Other Utility Easement”
which grants GSA IV broad power to use Gurgone’s property for its utility connections, including
underground burying of connections irrespective of whether the easement rights previously
existed. It reads as follows:



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               Other Utility Easement. To the extent that any public utility benefits the Tower
               Area and Access and Utility Area without valid easement, Grantor also grants and
               conveys unto Grantee, its tenants, licensees, successors, assigns, assignees, and
               sublessees, full, complete, uninterrupted and unconditional access to and from the
               Grantor Property, seven days a week, 24 hours a day, over and across the common
               areas of any other adjacent property now or hereafter owned by Grantor, for,
               without limitation, ingress and egress to and from the Grantor Property, as well as
               the installation, location, and maintenance of overhead and/or underground utility
               connections, including electric, telephone, gas, water, sewer, and any other utility
               connection. Grantee's use of such utility easements shall not interfere with Grantor's
               normal use and enjoyment of the Grantor Property. The rights conferred pursuant
               to this paragraph may be partially assigned by Grantee to any private or public
               utility authority to provide utilities to the Grantor Property, or to otherwise further
               effect this provision.

Exhibit 5, ¶ 18; Dkt. 45, ¶ 22; Dkt. 46, ¶ 22.

       34.     Since 1998, Sprint, GSA IV, and their predecessors, agents and/or affiliated entities
have accessed the Site via an existing driveway that provides vehicular access to both the Site and
Gurgone’s residence. See Dkt. 45, ¶ 27; Dkt. 46, ¶ 27.

       35.    The location of this driveway has remained the same since the late 1990s. Gurgone
Dep. 22:15-21.

         36.   Since 1998, Sprint, GSA IV, and their predecessors, agents and/or affiliated entities
have used the same general underground pathway from the public utility access points near the
Site to the Tower. See Dkt. 45, ¶ 28; Dkt. 46, ¶ 28.

        37.     It was not until GSA IV’s lessees and agents for the public utility AT & T began
trenching for the on-going maintenance of utility connections in 2013 that Gurgone began to
complain about the legal description in the access or utility easements, and to claim a trespass due
to the scrivener’s errors. See Dkt. 45, ¶ 29; Dkt. 46, ¶ 29.

       38.     Counsel for GSA IV has made repeated written requests for arborist or landscaper
estimates for the alleged damage to vegetation caused by the 2013 trenching activities. Despite
repeated requests, neither Gurgone nor any of his various attorneys have ever provided copies of
same to counsel. See Dkt. 45, ¶ 33; Dkt. 46, ¶ 33. Gurgone Dep. 79:7-17.

       39.      As of Gurgone’s deposition in April 2018, he still had not obtained any written
estimate for the alleged vegetation damage caused by the 2013 trenching activities. Gurgone Dep.
85-87:13-6.

       40.     Gurgone received written quotes from two different landscaping services for
alleged vegetation damage caused by PT Ferro that was after and unrelated to the alleged damage
caused by the 2013 trenching activities. Gurgone Dep. 79-85:7-12.

     41.    Gurgone reached a settlement with PT Ferro’s insurer and received $15,760.04.
Gurgone Dep. 84-85:14-7. He signed a release as well but he does not have a copy of that release.
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Id., 81:1-22. Gurgone never used that $15,760.04 settlement to have any alleged damaged
vegetation repaired. Id., 81-82:23-3; 82-83:17-2.

        42.    GSA IV, both directly and through its counsel have repeatedly made monetary
offers to pay for the alleged damage for the vegetation caused by the 2013 trenching activities.
Dkt. 45, ¶ 34; Dkt. 46, ¶ 34.

         43.     When Gurgone had a prior issue with some damage to a fence, his attorney brought
it to the attention of GSA IV, GSA IV made a repair to the fence, fixed his driveway, and gave
him a small monetary settlement. Gurgone Dep. 49:12-23.

         44.    In written communications from both Gurgone, and his prior counsel, both have
asserted that because the utility easement portion is missing from the documents associated with
the Easement Purchase, that GSA IV is trespassing by maintaining its underground utilities and
therefore Gurgone is somehow entitled to rent for GSA IV to continue to maintain its underground
utilities connecting them from the Site to the public utility pedestal. Dkt. 45; ¶ 35, Dkt. 46, ¶ 35.

       45.     Gurgone has also frequently confronted GSA IV and its agents telling them to leave
his property and advising them that they had no legal right to be on his property. Dkt. 45, ¶ 37;
Dkt. 46, ¶ 37.

      46.     Gurgone has called the Sheriff on contractors working on Tower related activities
on more than one occasion. Gurgone Dep. 80:2-16; 93:14-20.

        47.   The PCS Site Agreement sets forth that “the prevailing party in any action or
proceeding in court or mutually agreed upon arbitration proceeding to enforce the terms of this
Agreement is entitled to receive its reasonable attorneys’ fees and other reasonable enforcement
costs and expenses from the non-prevailing party.” Exhibit 1, ¶ 19(f).

       48.     The Easement provides for fee shifting to the prevailing party “in connection with
any legal proceeding arising from or based” upon the Easement. Exhibit 5, ¶ 13.

       49.    Sprint (and its subsidiaries and/or affiliates) is and has been the communications
company operating equipment on the Tower since the time of GSA IV’s purchase of the Easement.
Castillo Declaration, ¶ 7.

       50.      AT & T is the communications company that owns the telecommunications
pedestal at the Site. Castillo Declaration, ¶ 8.

        51.    The 2013 trenching activities were done to improve and upgrade Sprint’s utility
service from the Tower in order to provide safe and reliable telecommunications services. Castillo
Declaration, ¶ 9.

         52.  Sprint is a telecommunications provider as recognized by its registration with the
Illinois Commerce Commission. Utility Profile, SprintCom, Inc., Illinois Commerce Commission,
https://www.icc.illinois.gov/utility/certificates.aspx?id=1417 (last visited July 23, 2018).



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        53.   AT & T is a telecommunications provider as recognized by its registration with the
Illinois Commerce Commission. Utility Profile, AT&T Corp., Illinois Commerce Commission,
https://www.icc.illinois.gov/utility/certificates.aspx?id=3181 (last visited July 23, 2018).


  Dated: August 3, 2018


                                                   /s/ Carrie A. Hall
                                                   Attorney for Defendant/Counter-Plaintiff
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                                CERTIFICATE OF SERVICE

        The undersigned, an attorney of record in this matter, hereby certifies that on

August 3, 2018, I caused a copy of the foregoing to be filed with the Court’s CM/ECF system,

which provides notice to all counsel of record via electronic mail.




                                                     /s/ Carrie A. Hall




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